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EEN INMATE REQUEST FOR INTERVIEW

 

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Clearly state your reason for requesting this interview.
You will be called in for interview in the near future if the matter cannot be handled by correspondence.

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STATE OF CALIFORNIA

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Clearly state your reason for requesting this interview.
You will be called in for interview in the near future if the matter cannot be handled by correspondence.

 

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